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   8                        UNITED STATES DISTRICT COURT
   9                       CENTRAL DISTRICT OF CALIFORNIA
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  11    EUGENE DONELLE SHORTS,                Case No. 2:19-cv-04899-GW (AFM)
  12
                           Petitioner,
              v.                              JUDGMENT
  13

  14    KEN CLARK, Warden,
  15
                           Respondent.
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  17         This matter came before the Court on the Petition of EUGENE DONELLE
  18   SHORTS, for a writ of habeas corpus. Having reviewed the Petition and supporting
  19   papers, and having accepted the findings and recommendation of the United States
  20   Magistrate Judge,
  21         IT IS ORDERED AND ADJUDGED that the Petition is denied and the action
  22   is dismissed with prejudice.
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  24   DATED: August 3, 2020
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                                                   GEORGE W. WU
  27                                        UNITED STATES DISTRICT JUDGE
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